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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


         In re:                                                       Chapter 11

         MATTRESS FIRM, INC., et al.,1                                Case No. 18-12241 (CSS)

                                   Debtors.                           (Joint Administration Requested)


                           DEBTORS’ THIRD OMNIBUS MOTION FOR ENTRY
                       OF AN ORDER (I) AUTHORIZING DEBTORS TO (A) REJECT
                       CERTAIN UNEXPIRED LEASES OF NONRESIDENTIAL REAL
                     PROPERTY AND (B) ABANDON CERTAIN PERSONAL PROPERTY
                  IN CONNECTION THEREWITH AND (II) GRANTING RELATED RELIEF

                       LANDLORDS RECEIVING THIS MOTION SHOULD LOCATE
                      THEIR NAMES AND LEASE(S) ON THE SCHEDULE OF LEASES
                         ATTACHED HERETO AS SCHEDULE 1 TO EXHIBIT A

                  Mattress Firm, Inc. and its affiliated debtors and debtors in possession in the above-

         captioned chapter 11 cases (collectively, the “Debtors”) submit this motion (this “Motion”),

         pursuant to sections 105(a), 362(d), 365(a), and 554(a) of title 11 of the United States Code,

         11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) and rules 6006 and 6007 of the Federal Rules

         of Bankruptcy Procedure (the “Bankruptcy Rules”), for entry of an order (the “Proposed Order”),

         substantially in the form attached hereto as Exhibit A, (i) authorizing the Debtors to (a) reject

         certain unexpired leases (including any guarantees thereof and any amendments or modifications

         thereto or assignments or subleases thereof, collectively, the “Leases”) of nonresidential real

         property located at the addresses of the Debtors’ retail stores set forth on Schedule 1 to Exhibit

         A attached hereto (collectively, the “Closing Stores”), and (b) abandon certain furniture, fixtures,

         1
           The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, for which the Debtors have requested joint administration, a complete list of the Debtors and the last four
         digits of their federal tax identification numbers is not provided herein. This information may be obtained on the
         website of the Debtors’ noticing and claims agent at http://dm.epiq.com/MattressFirm or by contacting counsel for
         the Debtors.
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         equipment and other assets at the Closing Stores (collectively, the “Remaining Property”), each

         effective as of the Rejection Date (as defined below), and (ii) granting related relief. In support

         of this Motion, the Debtors submit the Declaration of Hendré Ackermann in Support of the

         Debtors’ Chapter 11 Petitions and First Day Pleadings (the “First Day Declaration”) filed

         contemporaneously herewith and incorporated by reference. In further support of this Motion,

         the Debtors respectfully state as follows:

                               STATUS OF THE CASES AND JURISDICTION

                1.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

         petition for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy

         Court for the District of Delaware (the “Court”). Concurrently with the filing of this Motion, the

         Debtors have requested joint administration and procedural consolidation of these chapter 11

         cases pursuant to Bankruptcy Rule 1015(b). The Debtors continue to operate their businesses

         and manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of

         the Bankruptcy Code. No party has requested the appointment of a trustee or examiner in these

         cases, and no statutory committee has been appointed.

                2.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the

         Amended Standing Order of Reference from the United States District Court for the District of

         Delaware, dated February 29, 2012. This matter is a core proceeding within the meaning of 28

         U.S.C. § 157(b)(2), and the Debtors confirm their consent, pursuant to Local Rule 9013-1(f), to

         the entry of a final order or judgment by the Court in connection with this Motion if it is

         determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

         connection herewith consistent with Article III of the United States Constitution.

                3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.


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                 4.      The statutory and other bases for the relief requested in this Motion are sections

         105(a), 362(d), 365(a), and 554(a) of the Bankruptcy Code and Bankruptcy Rules 6006 and

         6007.

                      THE DEBTORS’ PREPACKAGED PLAN OF REORGANIZATION

                 5.      Concurrently with this Motion, the Debtors have filed a joint prepackaged chapter

         11 plan of reorganization (the “Plan”) and a related disclosure statement (the “Disclosure

         Statement”). The Debtors have also filed a motion to schedule a combined hearing for the Court

         to consider approval of the Disclosure Statement and confirmation of the Plan. All classes of

         claims against the Debtors are unimpaired under the Plan.

                                        BACKGROUND OF THE DEBTORS

                 6.      Additional information regarding the Debtors’ business, capital structure and the

         circumstances preceding the Petition Date are set forth in the First Day Declaration.

                                                      THE LEASES

                 7.      As of the Petition Date, the Debtors operate approximately 3,230 retail stores in

         49 states.2 As a key component of their restructuring strategy, the Debtors are engaged in

         ongoing efforts to optimize their retail network. The Debtors, in consultation with their advisors,

         have analyzed store-level earnings, occupancy costs, and other data and identified certain stores

         that are underperforming or competing with other stores operated by the Debtors. By this

         Motion, the Debtors, in their reasonable business judgment, are requesting authority to reject the

         Leases of 100 stores—i.e., the Closing Stores—as of October 31, 2018, which is the date by

         which the Debtors will have ceased operations at the Closing Stores, vacated and surrendered


         2
           The Debtors’ operations also include approximately 125 franchisee-operated stores in Alaska, Montana, New
         Mexico, North Dakota, South Dakota and West Virginia, as well as certain franchised markets in Georgia, Iowa,
         Mississippi, New York, Oklahoma, South Carolina and Texas, which also operate under the Mattress Firm® brand
         name.
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         possession of the Closing Stores, and delivered the keys to the Closing Stores to the respective

         landlords (such date, with respect to each Closing Store, the “Rejection Date”).3

                 8.       The Leases provide no benefit to the Debtors’ estates. By rejecting the Leases,

         the Debtors will save approximately $108,000 per month in rent and associated costs. Absent

         rejection, the Debtors would be obligated to continue to pay rent under the Leases even though

         the Debtors will have ceased operations at, and will no longer continue in possession of, the

         Closing Stores. Moreover, in addition to their obligations to pay rent under the Leases, the

         Debtors would also be obligated to pay certain real property taxes, utilities, insurance and similar

         charges. The Debtors have determined in their business judgment that such costs constitute a

         waste of estate assets. The cost of maintaining the Closing Stores outweighs any revenues that

         the Closing Stores currently generate or are likely to generate in the future. Moreover, given the

         obligations under the Leases and current market conditions, the Debtors have concluded, in

         consultation with their advisors, that the Leases are not marketable and are unlikely to generate

         material value for the Debtors’ estates.

                                             THE REMAINING PROPERTY

                 9.       In the ordinary course of business, the Debtors have accumulated certain

         miscellaneous assets at the Closing Stores, including certain furniture, fixtures, and equipment of

         de minimis value. The Debtors generally will remove these assets from the Closing Stores and

         transport such assets to the Debtors’ distribution centers or other stores. The Debtors have

         determined, however, in the exercise of their business judgment, that certain of these assets will

         3
           Concurrently with the filing of this Motion, the Debtors have filed the Debtors’ First Omnibus Motion for Entry of
         an Order (I) Authorizing Debtors to (A) Reject Certain Unexpired Leases of Nonresidential Real Property and
         (B) Abandon Certain Personal Property in Connection Therewith and (II) Granting Related Relief and the Debtors’
         Second Omnibus Motion for Entry of an Order (I) Authorizing Debtors to (A) Reject Certain Unexpired Leases of
         Nonresidential Real Property and (B) Abandon Certain Personal Property in Connection Therewith and (II)
         Granting Related Relief (together with this Motion, the “Omnibus Lease Rejection Motions”), and have listed the
         landlords’ names alphabetically in accordance with Bankruptcy Rule 6006.
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         be exceedingly difficult or expensive to remove or store (the “Remaining Property”).

         Accordingly, the Debtors will not realize any economic benefit by retaining the Remaining

         Property. Therefore, the Debtors are requesting authority to abandon any Remaining Property at

         the Closing Stores.

                                                    RELIEF REQUESTED

                  10.      By this Motion, the Debtors request entry of the Proposed Order, substantially in

         the form attached hereto as Exhibit A, (i) authorizing the Debtors to (a) reject the Leases set

         forth on Schedule 1 to Exhibit A attached hereto as of the Rejection Date and (b) abandon the

         Remaining Property, each effective as of the Rejection Date and (ii) granting related relief. The

         Debtors reserve all rights to modify the schedule of Leases, including by removing one or more

         Leases from Schedule 1, without prejudice to their rights to reject such Leases at a later date.4

                                                      BASIS FOR RELIEF

          I.    The Court Should Authorize the Rejection of the Leases under Section 365(a) of the
                Bankruptcy Code as a Reasonable Exercise of the Debtors’ Business Judgment.

                  11.      Section 365(a) of the Bankruptcy Code provides that a debtor, “subject to the

         court’s approval, may assume or reject any . . . executory contract or unexpired lease of the

         debtor.” 11 U.S.C. § 365(a). The purpose behind section 365(a) is “to permit the trustee or

         debtor-in-possession to use valuable property of the estate and to renounce title to and abandon

         burdensome property.”          In re Republic Airways Holdings Inc., 547 B.R. 578, 582 (Bankr.

         S.D.N.Y. 2016) (quoting Orion Pictures Corp. v. Showtime Networks, Inc. (In re Orion Pictures

         Corp.), 4 F.3d 1095, 1098 (2d Cir. 1993)); see also Nat’l Labor Relations Bd. v. Bildisco &

         4
           The Debtors may also request authority to reject additional leases if their efforts to renegotiate the terms of such
         leases are unsuccessful. The Debtors intend to file a Motion for Entry of an Order (I) Authorizing and Approving
         Procedures to Reject Unexpired Leases of Nonresidential Real Property and (II) Granting Related Relief (the
         “Rejection Procedures Motion”). If granted, the relief requested in the Rejection Procedures Motion would not
         apply to the Leases that are the subject of the Omnibus Lease Rejection Motions and would only apply to additional
         leases that the Debtors may request authority to reject, if any.
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         Bildisco (In re Bildisco), 465 U.S. 513, 528 (1984) (“[T]he authority to reject an executory

         contract is vital to the basic purpose to a Chapter 11 reorganization, because rejection can release

         the debtor’s estate from burdensome obligations that can impede a successful reorganization.”);

         In re Exide Techs., 607 F.3d 957, 967 (3d Cir. 2010) (“Courts may use § 365 to free a [debtor]

         from burdensome duties that hinder its reorganization”).

                12.     The standard applied by courts to determine whether the assumption or rejection

         of an unexpired nonresidential lease should be authorized is the “business judgment” test, which

         requires a debtor to have determined that the requested assumption or rejection would be

         beneficial to its estate. See Grp. of Institutional Inv’rs, Inc. v. Chi., Milwaukee, St. Paul & Pac.

         R.R., 318 U.S. 523, 550 (1943) (noting that “the question whether a lease should be

         rejected . . . is one of business judgment”); In re Bildisco, 682 F.2d 72, 79 (3d Cir. 1982), aff’d,

         465 U.S. 513 (“The usual test for rejection of an executory contract is simply whether rejection

         would benefit the estate, the ‘business judgment’ test.”); accord In re HQ Glob. Holdings, Inc.,

         290 B.R. 507, 511 (Bankr. D. Del. 2003).

                13.     In applying the business judgment standard, bankruptcy courts give deference to a

         debtor’s decision to assume or reject leases. See Computer Sales Int’l, Inc. v. Fed. Mogul

         Global, Inc. (In re Fed. Mogul Global, Inc.), 293 B.R. 124, 126 (D. Del. 2003) (“The business

         judgment test dictates that a court should approve a debtor’s decision to reject a contract unless

         that decision is the product of bad faith or a gross abuse of discretion”); In re Trans World

         Airlines, Inc., 261 B.R. 103, 121 (Bankr. D. Del. 2001) (“[A] debtor’s decision to reject an

         executory contract must be summarily affirmed unless it is the product of bad faith, or whim or

         caprice.”).




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                 14.    The Debtors’ rejection of the Leases is within the Debtors’ business judgment and

         will serve the best interests of their estates. As stated above, the Debtors are engaged in ongoing

         efforts to optimize their retail network and, in consultation with their advisors, have determined

         to cease operations at the Closing Stores. See First Day Declaration at Part IV(C)(1). The

         Debtors are requesting authority to reject the Leases to avoid the incurrence of any additional,

         unnecessary administrative expenses in connection with the Closing Stores. The Debtors have

         concluded that the cost of maintaining the Closing Stores outweighs any revenues that the

         Closing Stores currently generate or are likely to generate in the future, and that the costs

         associated with the Leases exceed any marginal benefits that could potentially be achieved from

         the assignment or sublease of the Leases. See First Day Declaration at Id. For the foregoing

         reasons, the Debtors believe that rejecting the Leases is a reasonable exercise of their business

         judgment and should be approved.

        II.     The Court Should Authorize the Debtors to Abandon the Remaining Property under
                Section 554(a) of the Bankruptcy Code.

                 15.    Under section 554(a) of the Bankruptcy Code, a debtor, after notice and a hearing,

         is authorized to “abandon any property of the estate that is burdensome to the estate or that is of

         inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a). In abandoning property

         under section 554, “the debtor ‘need only demonstrate that [it] has exercised sound business

         judgment in making the determination to abandon.” In re Contract Research Solutions, Inc.,

         Case No. 12-11004 (KJC), 2013 Bankr. LEXIS 1784, at *11 (Bankr. D. Del. May 1, 2013). The

         right to abandon property is virtually unfettered, unless (a) abandonment of the property will

         contravene laws designed to protect public health and safety or (b) the property poses an

         imminent threat to the public’s welfare. See Midlantic Nat’l Bank v. N.J. Dep’t of Envtl. Prot.

         474 U.S. 494, 501 (1986). Neither of these limitations is relevant under the instant facts.

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                 16.     Any Remaining Property left at the Closing Stores is of inconsequential value to

         the Debtors’ estates, and the cost to the Debtors of retrieving, storing, marketing, and reselling

         the Remaining Property will exceed any realistic economic benefit that might be realized by

         retaining such property. Accordingly, the Debtors have determined, in the exercise of their

         sound business judgment, that their decision to abandon any Remaining Property will be in the

         best interests of the Debtors and their estates.

                 17.     To facilitate the Debtors’ abandonment of the Remaining Property, the Debtors

         also request authorization under section 362(d) of the Bankruptcy Code, which permits a

         modification of the automatic stay for “cause,” to the extent necessary to permit the relevant

         landlords to dispose of any Remaining Property without further notice or any liability to the

         Debtors or any third parties and without waiving any claims against the Debtors.

                                            RESERVATION OF RIGHTS

                 18.     Nothing contained in this motion or any actions taken by the Debtors pursuant to

         relief granted in the Order is intended or should be construed as: (a) an admission as to the validity,

         priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the Debtors’ or any

         other party-in-interest’s rights to dispute any particular claim on any grounds; (c) a promise or

         requirement to pay any particular claim; (d) an implication or admission that any particular claim is

         of a type specified or defined in this motion; (e) a request or authorization to assume any agreement,

         contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or limitation of the

         Debtors’ or any other party-in-interest’s rights under the Bankruptcy Code or any other applicable

         law; or (g) a concession by the Debtors or any other party-in-interest that any liens (contractual,

         common law, statutory, or otherwise) satisfied pursuant to this motion are valid and the Debtors and

         all other parties-in-interest expressly reserve their rights to contest the extent, validity, or perfection,

         or to seek avoidance of all such liens.

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                WAIVER OF BANKRUPTCY RULE 6004(a) AND 6004(h) REQUIREMENTS

                19.     In addition, by this Motion, the Debtors request a waiver of any stay of the

         effectiveness of the order approving this Motion. Pursuant to Bankruptcy Rule 6004(h), “[a]n

         order authorizing the use, sale, or lease of property other than cash collateral is stayed until the

         expiration of 14 days after entry of the order, unless the court orders otherwise.” FED. R. BANKR.

         P. 6004(h). As set forth above, the Debtors require immediate relief in the form of an order

         authorizing their rejection of the Leases as of the Rejection Date. Accordingly, the Debtors

         submit that ample cause exists to justify a waiver of the 14-day stay imposed by Bankruptcy

         Rule 6004(h), to the extent that it applies.

                20.     Similarly, for the reasons stated above, the Debtors request a waiver of the notice

         requirements of Bankruptcy Rule 6004(a) to the extent they are deemed applicable.

                                                        NOTICE

                21.     Notice of this Motion will be provided to (i) the landlords under the Leases;

         (ii) the U.S. Trustee; (iii) the holders of the thirty (30) largest unsecured claims against the

         Debtors on a consolidated basis; (iv) counsel to the DIP Agents; (v) counsel to the Prepetition

         ABL Agent; (vi) counsel to the Prepetition Term Loan Lender; (vii) counsel to Steinhoff

         International Holdings N.V; (viii) counsel to the exit term loan financing backstop group; (ix) the

         United States Attorney’s Office for the District of Delaware; (x) the Internal Revenue Service;

         (xi) the United States Department of Justice; and (xii) any party that has requested notice

         pursuant to Bankruptcy Rule 2002. Although Bankruptcy Rule 6007 requires the Debtors to

         serve a motion to abandon property on, among other parties, all of the Debtors’ creditors, Local

         Rule 2002-1(b) abrogates that rule. Accordingly, the Debtors submit that, in light of the nature

         of the relief requested, no other or further notice need be given.


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                WHEREFORE the Debtors respectfully request that the Court enter the Proposed Order,

         substantially in the form attached hereto, granting the relief requested herein and such other and

         any further relief as the Court may deem just and proper.



         Dated: October 5, 2018              SIDLEY AUSTIN LLP
         Wilmington, Delaware                Bojan Guzina
                                             Matthew E. Linder
                                             Blair M. Warner
                                             One South Dearborn Street
                                             Chicago, Illinois 60603
                                             Telephone: (312) 853-7000
                                             Facsimile: (312) 853-7036

                                                       -and-

                                             SIDLEY AUSTIN LLP
                                             Gabriel R. MacConaill (No. 4734)
                                             Michael Fishel
                                             555 West Fifth Street, Suite 4000
                                             Los Angeles, California 90013
                                             Telephone: (213) 896-6000
                                             Facsimile: (213) 896-6600
                                                       -and-
                                             YOUNG CONAWAY STARGATT & TAYLOR, LLP

                                             /s/ Ashley E. Jacobs
                                             Robert S. Brady (No. 2847)
                                             Edmon L. Morton (No. 3856)
                                             Ashley E. Jacobs (No. 5635)
                                             1000 North King Street
                                             Wilmington, Delaware 19801
                                             Telephone: (302) 571-6600
                                             Facsimile: (302) 571-1253

                                             PROPOSED ATTORNEYS FOR THE DEBTORS
                                             AND DEBTORS IN POSSESSION




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                                       Exhibit A

                                    Proposed Order




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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


         In re:                                                           Chapter 11

         MATTRESS FIRM, INC., et al.,1                                    Case No. 18-12241 (CSS)

                                    Debtors.                              (Jointly Administered)

                                                                          Ref. Docket No. __

                        THIRD OMNIBUS ORDER (I) AUTHORIZING DEBTORS TO
                    (A) REJECT CERTAIN UNEXPIRED LEASES OF NONRESIDENTIAL
                  REAL PROPERTY AND (B) ABANDON CERTAIN PERSONAL PROPERTY
                  IN CONNECTION THEREWITH AND (II) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”)2 of Mattress Firm, Inc. and its affiliated debtors and

         debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) for

         entry of an order (this “Order”) (i) authorizing the Debtors to (a) reject the Leases set forth on

         Schedule 1 attached hereto and (b) abandon the Remaining Property, each effective as of the

         Rejection Date and (ii) granting related relief, all as more fully set forth in the Motion; and the

         Court being able to issue a final order consistent with Article III of the United States

         Constitution; and venue of this proceeding and the Motion being proper pursuant to 28 U.S.C.

         §§ 1408 and 1409; and appropriate notice of and the opportunity for a hearing on the Motion

         having been given and it appearing that no other or further notice need be provided; and this

         Court having reviewed the Motion and having heard the statements in support of the relief

         requested therein at a hearing before this Court; and all objections, if any, to the Motion having


         1
           The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
         noticing and claims agent at http://dm.epiq.com/MattressFirm or by contacting counsel for the Debtors.
         2
          All capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the
         Motion.
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         been withdrawn, resolved or overruled; and the relief requested in the Motion being in the best

         interests of the Debtors’ estates, their creditors and other parties in interest; and this Court having

         determined that the legal and factual bases set forth in the Motion establish just cause for the

         relief granted herein; and after due deliberation and sufficient cause appearing therefor, it is

         HEREBY ORDERED THAT:

                1.      The Motion is GRANTED as set forth herein.

                2.      The Debtors are authorized to reject the Leases set forth on the attached

         Schedule 1, effective as of the Rejection Date, pursuant to sections 105(a) and 365(a) of the

         Bankruptcy Code and Bankruptcy Rules 6006 and 6007.

                3.      The Debtors are authorized, but not directed, to abandon any Remaining Property

         located at the Closing Stores subject to the Leases, in the Debtors’ sole discretion, free and clear

         of all liens, claims, encumbrances and rights of third parties, with such abandonment being

         effective as of the Rejection Date. The landlords under the Leases are authorized to dispose of

         any Remaining Property without further notice or any liability to the Debtors or any third parties

         and without waiving any claims against the Debtors. The automatic stay is modified to the

         extent necessary to allow the disposition of any Remaining Property.

                4.      Within two business days after entry of this Order, the Debtors shall serve a copy

         of this Order and the attached Schedule 1 on the landlords under the Leases.

                5.      The landlords under the Leases must file a proof of claim relating to the rejection

         of such Leases, if any, by 5:00 p.m. (prevailing Eastern Time) on the date that is thirty (30) days

         after the Effective Date (as defined in the Plan). Proofs of claim and instructions for submission

         may be obtained on the website of the Debtors’ noticing and claims agent at

         http://dm.epiq.com/MattressFirm.


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                6.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

         such relief, nothing in this Order shall be deemed: (a) an admission as to the validity, priority, or

         amount of any particular claim against a Debtor entity; (b) a waiver of the Debtors’ or any other

         party-in-interest’s rights to dispute any particular claim on any grounds; (c) a promise or

         requirement to pay any particular claim; (d) an implication or admission that any particular claim

         is of a type specified or defined in this motion; (e) a request or authorization to assume any

         agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or

         limitation of the Debtors’ or any other party-in-interest’s rights under the Bankruptcy Code or

         any other applicable law; or (g) a concession by the Debtors or any other party-in-interest that

         any liens (contractual, common law, statutory, or otherwise) satisfied pursuant to this motion are

         valid and the Debtors and all other parties-in-interest expressly reserve their rights to contest the

         extent, validity, or perfection, or to seek avoidance of all such liens.

                7.      The Debtors do not waive any claims that they may have against any counterparty

         to the Leases, whether or not such claims arise under, are related to the rejection of, or are

         independent of the Leases.

                8.      Nothing herein shall prejudice the rights of the Debtors to argue that any of the

         Closing Store Leases were terminated prior to the Petition Date; that any claim for damages

         arising from the rejection of the Closing Store Leases is limited to the remedies available under

         any applicable termination provision of such Lease; or that any such claim is an obligation of a

         third party and not that of the Debtors or their estates.

                9.      The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b)

         because the relief granted in this Order is necessary to avoid immediate and irreparable harm to

         the Debtors’ estates.


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                10.      Notice of the Motion shall be deemed good and sufficient notice of such Motion,

         and the requirements of Bankruptcy Rule 6004(a) and the Local Rules of Bankruptcy Practice

         and Procedure of the United States Bankruptcy Court for the District of Delaware are waived by

         such notice.

                11.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

         are immediately effective and enforceable upon its entry.

                12.      The Debtors are authorized to take all actions necessary to effectuate the relief

         granted in this Order in accordance with the Motion.

                13.      Notwithstanding anything to the contrary in this Order or the Motion, any

         payment, obligations, or other relief authorized by this Order shall be subject to the terms,

         conditions, and limitations contained in the orders of this Court approving the Debtors’ entry into

         and performance under the debtor-in-possession financing documents and cash collateral use,

         including any budget in connection therewith.

                14.      This Court retains exclusive jurisdiction with respect to all matters arising from or

         related to the implementation, interpretation and enforcement of this Order.


         Dated: ____________, 2018
         Wilmington, Delaware
                                                               CHRISTOPHER S. SONTCHI
                                                               CHIEF UNITED STATES BANKRUPTCY JUDGE




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                                      Schedule 1

                                        Leases




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                                                             Schedule 11

                        COUNTERPARTY-LANDLORD AND
                                                                              DEBTOR               PROPERTY ADDRESS
                                 ADDRESS

                1.               W-ARC Four Sixes, LLC                                            6666 Security Blvd-STE 17-
                              8150 Leesburg Pike, Suite 1100                Sleepy’s, LLC                     20,
                                   Vienna, VA, 22182                                                Woodlawn, MD 21207

                2.                 WAV Provo LLC
                           c/o Wadsworth Development Group
                                                                                                    1122 S. University Ave.,
                             166 East 14000 South, Suite 210              Mattress Firm, Inc.
                                                                                                       Provo, UT 84601
                                  ATTN: Nate Ballard
                                   Draper, UT, 84020

                3.              West End Properties, LLC
                              c/o Woodmont Properties, Inc.              Mattress Discounters        1065 West Broad St.,
                             4919 Bethesda Avenue, Suite 200              Operations LLC            Falls Church, VA 22046
                                  Bethesda, MD, 20814

                4.              Westford Marketplace, Inc.
                              c/o The Wilder Companies, Ltd.                                          174 Littleton Road,
                                                                            Sleepy’s, LLC
                              800 Boylston Street, Suite 1300                                         Westford, MA 01886
                                    Boston, MA, 02199

                5.      Westpark Business Center Company L.L.C.
                                                                                                        4139 W. Reno,
                             4141 Highline Blvd., Suite 180               Mattress Firm, Inc.
                                                                                                   Oklahoma City, OK 73107
                               Oklahoma City, OK, 73108

                6.     Westridge Park Investors Limited Partnership
                                                                                                       7230 W Ray Rd,
                          3131 E. Camelback Road, Suite 310               Mattress Firm, Inc.
                                                                                                      Chandler, AZ 85226
                                  Phoenix, AZ, 85016

                7.         Wethersfield Shopping Center, LLC
                           c/o M.J. Neiditz & Company, Inc.
                                                                                                   1055 Silas Dean Highway,
                                125 LaSalle Road, #304                      Sleepy’s, LLC
                                                                                                    Wethersfield, CT 06109
                               ATTN: Steven C Neiditz
                               West Hartford, CT, 06107

                8.             Woodlands Pinecroft Center
                                     c/o Wulfe & Co.                                               1335 Lake Woodlands Dr.
                                 1800 Post Oak Boulevard                  Mattress Firm, Inc.              Suite C,
                               6 Boulevard Place, Suite 400                                        The Woodlands, TX 77382
                                   Houston, TX, 77056

                9.              York Road Investors LLC
                            c/o Conner Commercial Prop LLC                                        8506 S Tryon Street Unit E,
                                                                            Sleepy’s, LLC
                               6401 Carmel Road, Suite 203                                           Charlotte, NC 28273
                                  Charlotte, NC, 28226




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           The inclusion of a Lease on this list does not constitute an admission as to the executory or non-executory nature of
         the Lease, or as to the existence or validity of any claims held by the counterparty or counterparties to such Lease.
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